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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
               v.                             )           Case No.        09-CR-043-SPF
                                              )
LINDSEY KENT SPRINGER,                        )
OSCAR AMOS STILLEY,                           )
                                              )
                       Defendants.            )

            UNITED STATES’ MOTION TO TAKE RULE 15 DEPOSITION
                      AND BRIEF IN SUPPORT THEREOF

       The United States of America, by and through its attorneys, Thomas Scott Woodward,

Acting United States Attorney for the Northern District of Oklahoma, and Kenneth P. Snoke,

Assistant United States Attorney, and Charles A. O’Reilly, Special Assistant United States

Attorney, hereby moves this Court, pursuant to Rule 15 of the Federal Rules of Criminal

Procedure, to order the videotaped deposition of witness Vikki Lynn Wiggins of Los Angeles,

California, who is a witness in this case. As a result of health, Ms. Wiggins has become unable

to travel to Tulsa, Oklahoma for the trial in the above-captioned case, currently set to begin

October 26, 2009.

       In support of this motion, the United States would show the Court that:

       1.      Vikki Lynn Wiggins is a witness with respect to Counts One and Two of the

Indictment; her testimony is necessary to establish the payment of five checks totaling $65,000 to

Defendant Springer.
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       2.      During the time period 2000 and 2001, Ms. Wiggins was a minister with a local

chapter of the Nation of Levites in New Mexico, at which time she came into contact with

Defendant Springer.

       3.      Ms. Wiggins has resided in Los Angeles, California since approximately 2002.

       4.      According to Ms. Wiggins and her doctor, Ms. Wiggins’ health prevents her from

traveling. Ms. Wiggins recently came close to death and is now medically fragile.1/

       5.      Ms. Wiggins paid Defendant Springer the five checks identified below for

Defendant Springer’s efforts in recovering money from a third party.

   Bates       Check
  Number        Date       Payor                       Payee                             Amount
   1183       01/24/00     Lea County State Bank       Bondage Breakers Ministries         $8,000
   1181       01/25/00     Bank of America             Bondage Breakers Ministries       $12,000
   1162       10/06/00     Garlin Assoc. Ministries    Bondage Breakers Ministries       $10,000
                           of Nation of Levites
   1148       05/31/01     Garlin Assoc. Ministries    Lindsey Springer                  $17,500
                           of Nation of Levites
   1146       05/31/01     Garlin Assoc. Ministries    Lindsey Springer                  $17,500
                           of Nation of Levites

       6.      The United States learned of Ms. Wiggins unavailability on September 22, 2009,

when Ms. Wiggins was contacted regarding serving her with a trial subpoena.

       Under the law and the circumstances, Ms. Wiggins is both essential and “unavailable”

under Rule 15 of the Federal Rules of Criminal Procedure and Federal Rule of Evidence



       1/
               Because of the shortness of time prior to trial, the United States is filing this
motion in anticipation of receiving corroboration regarding Ms. Wiggins’ condition from her
medical doctor. When this information is received, the United States will immediately supply
that information to the Court and Defendants.

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804(a)(4). See United States v. Keithan, 751 F.2d 9, 12-13 (1st Cir. 1984); United States v.

Gigante, 166 F.3d 75, 79-80 (2d Cir. 1999); United States v. Terrazas-Montano, 747 F.2d 467,

469 (8th Cir.1984); United States v. Furlow, 644 F.2d 764, 766-77 (9th Cir.1981).

       The United States submits that the testimony of prospective witness Vikki Lynn Wiggins

is relevant to the allegations in the Indictment, that exceptional circumstances exist under the

facts of this case justifying the need for a deposition, and that the interests of justice would be

served by taking a videotaped deposition of Ms. Wiggins in Los Angeles, California. Therefore

that the deposition should be taken as soon as possible, and in any event in time for use at the

October 26, 2009 trial. Pursuant to Rule 15 of the Federal Rules of Criminal Procedure, the

United States will pay the costs associated with the taking of the deposition, including the cost of

videotaping the deposition, preparing transcriptsof the videotaped deposition (if requested), and

the travel of the defendants and their attorneys.

       In an electronic communication dated September 25, 2009, Defendant Springer stated, he

“will not agree to the taking of Ms. Wiggins and Garlin Associated Ministries deposition prior to

trial .” Attachment A. Defendant Stilley also indicated he was opposed to the Government’s

motion in an electronic communication on the same date. Attachment B.

                                               Respectfully submitted,

                                               THOMAS SCOTT WOODWARD
                                               ACTING UNITED STATES ATTORNEY

                                                /s/ Charles A. O’Reilly
                                               CHARLES A. O’REILLY, CBA NO. 160980
                                               Special Assistant U.S. Attorney
                                               KENNETH P. SNOKE, OBA NO. 8437
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of September 2009, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing and transmittal of a
Notice of Electronic Filing to the following ECF registrants:

       Lindsey Kent Springer
       Defendant

       Oscar Amos Stilley
       Defendant

       Robert Williams
       Standby Counsel assigned to Lindsey Kent Springer

       Charles Robert Burton, IV
       Standby Counsel assigned to Oscar Amos Stilley.



                                             /s/ Charles A. O’Reilly
                                             Special Assistant U.S. Attorney




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